Case 3:15-cv-01411-TWR-BLM Document 275 Filed 10/01/21 PageID.7308 Page 1 of 2




                     UNITED STATES COURT OF APPEALS                      FILED
                            FOR THE NINTH CIRCUIT                         OCT 1 2021
                                                                     MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
 THE ECLIPSE GROUP LLP, a California            No.   20-55206
 limited-liability partnership,
                                                D.C. No.
                 Plaintiff-Appellant,           3:15-cv-01411-JLS-BLM
                                                Southern District of California,
  and                                           San Diego

 STEPHEN M. LOBBIN,                             ORDER

                 Intervenor-Plaintiff,

   v.

 TARGET CORPORATION, a Minnesota
 corporation,

                 Defendant-Appellee,

  and

 AMAZON.COM, INC., a Delaware
 corporation; et al.,

                 Defendants.

 Before: KLEINFELD, CALLAHAN, and HIGGINSON,* Circuit Judges.

        Judges Callahan and Higginson have voted to deny the petition for panel

 rehearing. Judge Callahan has voted to deny the petition for rehearing en banc,



        *
             The Honorable Stephen A. Higginson, United States Circuit Judge for
 the U.S. Court of Appeals for the Fifth Circuit, sitting by designation.
Case 3:15-cv-01411-TWR-BLM Document 275 Filed 10/01/21 PageID.7309 Page 2 of 2




 and Judge Higginson so recommends. Judge Kleinfeld has voted to grant the

 petition for rehearing and recommends voting to grant the petition for rehearing en

 banc. The full court has been advised of the petition for rehearing en banc and no

 judge has requested a vote on whether to rehear the matter en banc. Fed. R. App.

 P. 35. The petition for panel rehearing and the petition for rehearing en banc are

 denied.

       Stephen Lobbin’s motion to intervene to seek reconsideration and panel

 rehearing or rehearing en banc (Dkt. No. 52) is denied.




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